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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION



     NAVY SEAL 1, et al.,

            Plaintiffs,

     v.                                               CASE NO. 8:21-cv-2429-SDM-TGW

     LLOYD AUSTIN, et al.,

           Defendants.
     __________________________________/


                                               ORDER

            The plaintiffs move (Doc. 55) to proceed under a pseudonym. The defendants

     oppose (Doc. 79) the request.

            In resolving whether privacy interests outweigh the public interest in

     disclosure of the names of plaintiffs, a district court must consider at least:

                   (1) whether the plaintiff who requests anonymity challenges governmental
                       activity;

                   (2) whether prosecution of the action compels a plaintiff to disclose
                       information “of the utmost intimacy;” and

                   (3) whether the plaintiff must disclose an intent to engage in illegal conduct
                       and by the disclosure risk criminal prosecution.

     Doe v. Stegall, 653 F.2d 180, 185 (5th Cir. Unit A 1981) (discussing Southern Methodist

     Univ. Ass’n v. Wynne & Jaffe, 599 F.2d 707, 712 (5th Cir. 1979)). “Along with these

     factors, a court ‘should carefully review all the circumstances of a given case and
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     then decide whether the customary practice of disclosing the plaintiff’s identity

     should yield to the plaintiff’s privacy concerns.’” In re Chiquita Brands Int’l, Inc., 965

     F.3d 1238, 1247 (11th Cir. 2020) (emphasis in original) (quoting Plaintiff B v. Francis,

     631 F.3d 1310, 1316 (11th Cir. 2011)).

            Although acknowledging the “presumption that parties’ identities are public

     information,” the plaintiffs claim that a privacy interest under governing authority

     overcomes the presumption. (Doc. 55 at 1–2) The plaintiffs assert that the privacy of

     their medical and health information and the privacy of their religious beliefs and

     practice, as well as the prospect of “stigma, ostracization, retaliation, and other

     harms,” including threats of violence, require the use of a pseudonym. (Doc. 55 at 9)

            The plaintiffs correctly observe that “religion is perhaps the quintessentially

     private matter.” Stegall, 653 F.2d at 186; Doe v. Barrow Cnty., 219 F.R.D. 189, 193

     (N.D. Ga. 2003) (acknowledging a plaintiff’s privacy interest because the action

     required the plaintiff “to reveal his beliefs concerning the proper interaction between

     government and religion”). Prosecution of this action compels the plaintiffs to

     disclose sincere religious beliefs and to disclose the deeply personal experiences that

     form the foundation of those beliefs. For example, Lieutenant Colonel 2 opposes

     any vaccine associated with aborted fetal cell lines because she received an abortion

     after suffering a rape and later — through her religious devotion — believes herself

     forgiven, according to her beliefs, for the sin of abortion. (Doc. 60-2 at 5) Although

     the defendants argue that the plaintiffs’ vaccination status “is not a matter of utmost

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     intimacy,” this action encompasses substantially more intimate detail than whether a

     person chose to accept a vaccine. (Doc. 79 at 9–10)

           Further, the plaintiffs point to an array of recent and current actions similar to,

     or nearly the same as, this action that permit pseudonyms for the same reasons that

     plaintiffs advance. See, e.g., Does 1–6 v. Mills, No. 1:21-cv-242-JDL, 2021 WL

     4005985 (D. Me. Sept. 2, 2021); Air Force Officer v. Austin, 5:22-cv-00009-TES (M.D.

     Ga. Feb. 15, 2022) (Doc. 52). Mills recognizes the “reasonable fear of harm that

     outweighs the public’s interest” in disclosure because of the “substantial public

     controversy currently surrounding public and private mandates requiring individuals

     to be vaccinated for the COVID-19 coronavirus or to provide proof of vaccination

     status.” Mills, 2021 WL 4005985, at *2 (granting leave to proceed pseudonymously

     to healthcare workers objecting to a COVID-19 vaccination requirement). As in

     Mills, the plaintiffs in this action challenge the government on the controversial issue

     of a COVID-19 vaccination requirement. The statements and incidents cited by the

     plaintiffs adequately demonstrate, and everyday experience in recent weeks and

     months confirms, an acrid public atmosphere of contention about masks, vaccines,

     mandates, and the like. (Doc. 55 at 12–16)

           Beyond the plaintiffs’ interests in maintaining privacy and safety, the record

     shows that little harm results from the plaintiffs remaining innominate. The public’s

     interest in this action is satisfied by the facts patent in the record — the branches of

     the armed forces involved; the rank, duty, service record, and the like of the litigants;

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     the nature of the claims and defenses; and the orders of the court. The names add

     nothing substantial, but enable those who — through “social media,” as well as more

     immediate mechanisms — intimidate, harass, and defame. (A February 9, 2022

     protective order (Doc. 77) ensures interim protection for the defendants against any

     fundamental unfairness.)

           Accordingly, the motion (Doc. 55) to proceed under a pseudonym is

     GRANTED. Also, the parties must continue to comply with the interim protective

     order (Doc. 77).

           ORDERED in Tampa, Florida, on February 18, 2022.




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